                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                                  Alexandria Division


 SZY Holdings, LLC, et al.
   Plaintiffs,

 v.                                                 Civil Action No. 1:20-cv-01475 (LO/JFA)

 IPF Sourcing LLC, et al.,
    Defendants.



                  MOTION TO WITHDRAW AS COUNSEL FOR
             DEFENDANTS RICO GARCIA AND HAMSA HOLDINGS, LLC

       Pursuant to Local Rules of Civil Procedure 7 and 83.1(G), Olaoluwaposi O. Oshinowo,

Spencer C. Brooks, and Wiley Rein LLP (together, “Wiley Rein”) respectfully move to withdraw

as counsel for Defendants Rico Garcia and Hamsa Holdings, LLC (together, the “Defendants”).

As explained in the accompanying Memorandum in Support, good cause exists to permit Wiley

Rein to withdraw as counsel in this matter because the Defendants have discharged Wiley Rein

and no longer wish to be represented by Wiley Rein in this proceeding. Further, given the early

stage of the proceeding with respect to the Defendants, neither the parties nor the proceeding will

be disrupted by Wiley Rein’s withdrawal. Reasonable notice has been provided to the Defendants.

Accordingly, Wiley Rein respectfully requests that the Court grant the Motion to Withdraw and

enter an Order permitting Wiley Rein to withdraw as counsel for the Defendants. A proposed

order is attached as Exhibit A.

Dated: May 17, 2022                          Respectfully submitted,

                                             By: /s/ Olaoluwaposi O. Oshinowo

                                             Olaoluwaposi O. Oshinowo (Bar No. 84992)
                                             Spencer C. Brooks (admitted pro hac vice)
                                             Wiley Rein LLP


                                                1
2050 M Street NW
Washington, DC 20036
ooshinowo@wiley.law
sbrooks@wiley.law
(Tel) (202) 719-7000
(Fax) (202) 719-4275

Counsel for Defendants Rico Garcia and Hamsa
Holdings, LLC




  2
                                CERTIFICATE OF SERVICE

        I hereby certify that on this 17th day of May, 2022, a true and exact copy of the foregoing
was electronically filed with the Clerk of the District Court using the CM/ECF system and served
electronically upon all counsel of record:

Robert C. Gill
Saul Ewing Arnstein & Lehr LLP
1919 Pennsylvania Avenue NW Suite 550
Washington, DC 20006
Tel. 202-333-8800
Fax. 202-295-6705
Email: Robert.gill@saul.com

Counsel for Plaintiffs SZY Holdings, LLC and FarFromBoringPromotions.com, LLC

John Anthony Bonello
David Brody & Dondershine, LLP
2100 Reston Parkway Suite 370
Reston, VA 20191
Tel. (703) 264-2220
Fax. (703) 264-2226
Email: jbonello@dbd-law.com

Counsel for Defendant IPF Sourcing LLC

                                             By: /s/ Olaoluwaposi O. Oshinowo
                                             Olaoluwaposi O. Oshinowo (Bar No. 84992)
                                             Wiley Rein LLP

                                             Counsel for Defendants Rico Garcia and Hamsa
                                             Holdings, LLC




                                                3
